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Attorney for: ANNIE ZHAO
RANDALL B WHILL - RETAINED
PRETI FLAHERTY BELIVEAU PACHTIOS LLP

ONE CITY CENTER DOCKET RECORD

PO BOX 9546
PORTLAND ME 04112-9546

Attorney for: ANNIE ZHAO

SIGMUND D SCHUTZ - RETAINED

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GREGORY P HANSEL - RETAINED

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ALEXANDRA HARRIMAN - RETAINED
PRETI FLAHERTY BELIVEAU PACHTIOS LLP
ONE CITY CENTER

PO BOX 9546

PORTLAND ME 04112-9546

vs

COUNCIL ON INTERNATIONAL EDUCATIONAL EXCHANGE - DEFENDANT
300 FORE STREET

PORTLAND ME 04101

CIEE INC - DEFENDANT

300 FORE STREET

PORTLAND ME 04101

Filing Document: COMPLAINT
Filing Date: 06/12/2020

Minor Case Type: CONTRACT

Docket Events:
06/12/2020 FILING DOCUMENT - COMPLAINT FILED ON 06/12/2020

06/16/2020 Party(s): ANNIE ZHAO
ATTORNEY - RETAINED ENTERED ON 06/12/2020
Plaintiff's Attorney: SIGMUND D SCHUTZ

06/16/2020 Party(s): ANNIE ZHAO
ATTORNEY - RETAINED ENTERED ON 06/12/2020
Plaintiff's Attorney: GREGORY P HANSEL

06/16/2020 Party(s): ANNIE ZHAO
ATTORNEY - RETAINED ENTERED ON 06/12/2020
Plaintiff's Attorney: RANDALL B WEILL
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Printed on:

J Case 2:20-cv-00240-LEW Document 1-5 Filed 07/06/20 Pagelof2 PagelD#: 42
ANNIE ZHAQ - PLAINTIFF SUPERIOR COURT
CUMBERLAND,

Docket No PORSC-CV-2020-00243

06/30/2020
06/16/2020

06/16/2020

06/22/2020

06/22/2020

06/22/2020

06/22/2020

A TRUE COPY
ATTEST:

Case 2:20-cv-00240-LEW Document 1-5 Filed 07/06/20 Page2of2 PagelD#: 43

PORSC-CV-2020-00243
DOCKET RECORD

Party(s): ANNIE ZHAO
ATTORNEY - RETAINED ENTERED ON 06/12/2020
Plaintiff's Attorney: ALEXANDRA HARRIMAN

ASSIGNMENT - SINGLE JUDGE/JUSTICE ASSIGNED TO JUSTICE ON 06/16/2020
THOMAS MCKEON , JUSTICE

Party(s): COUNCIL ON INTERNATIONAL EDUCATIONAL EXCHANGE

SUMMONS/SERVICE - CIVIL SUMMONS SERVED ON 06/16/2020

UPON DEFENDANT COUNCIL ON INTERNATIONAL EDUCATIONAL EXCHANGE TO KENNETH A KEENE,
REGISTERED AGENT.

Party(s): COUNCIL ON INTERNATIONAL EDUCATIONAL EXCHANGE
SUMMONS/SERVICE - CIVIL SUMMONS FILED ON 06/22/2020

Party(s): CIEE INC
SUMMONS/SERVICE - CIVIL SUMMONS SERVED ON 06/16/2020
U[PON DEFENDANT CIEE INC TO CT CORPORATION, REGISTERED AGENT.

Party(s): CIEE INC
SUMMONS/SERVICE - CIVIL SUMMONS FILED ON 06/22/2020

Receipts
06/12/2020 Misc Fee Payments $150.00 paid.
06/12/2020 Misc Fee Payments $25.00 paid.

 

Clerk

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